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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )            CASE NO. 8:05CR162
          vs.                                      )
                                                   )
GENARO FAVALA RAMIREZ,                             )
                                                   )
                                                   )                       ORDER
                        Defendant.

          The Court has been advised that the defendant requests permission to enter a plea of
guilty.

          IT IS ORDERED that:

      1.     This case, insofar as it concerns this defendant, is removed from the trial docket
based upon the request of the defendant.


       2.       A hearing on the defendant’s anticipated plea of guilty and sentencing is scheduled
before District Judge Laurie Smith Camp on the 3rd of August, 2006 at the hour of 1:00 p.m. in
Courtroom No. 2, Third Floor, Roman L. Hruska Courthouse, 111 S. 18th Plaza, Omaha, Nebraska.


        3.       At least one (1) working day in advance of the plea proceeding, counsel for shall file
electronically the following: a) the Petition to Enter a Guilty Plea; and b) any written plea
agreement. Additionally, at least one (1) working day in advance of the plea proceeding, counsel
shall either file or provide by e-mail to smithcamp@ned.uscourts.gov a copy of any charging
document not yet on file that is the subject of the plea documents.


        4.      On or before the date for the plea proceeding, counsel for plaintiff and for defendant
shall provide to the assigned probation officer their respective versions of the offense for purposes
of preparing the presentence investigation report.


         5.      For this defendant, the time between today’s date and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See 18
U.S.C. §§ 3161(h)(1)(I), (h)(8)(A) & (h)(8)(B). Any objection to this speedy trial exclusion must be
filed within five (5) working days of the filing date of this Order.


          Dated this 30th day of June, 2006.


                                                       BY THE COURT:
                                                       s/Laurie Smith Camp
                                                       United States District Judge
